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UNITED STATES DISTRICT CoURT SoUTHERN DISTRICT oF TEXAS

 

Frans Nooren Afdichtingsstemen BV, et al., §
§
Plaintiffs, §
§
versus § Civil Action H»10»3 1 50
§
Stopaq Amcorr Inc., et al., §
§
Defendants. §
Final Dismissal
I. Having been advised that a settlement has been reached, this case is dismissed With
prejudice.
z. This court retains jurisdiction to enforce the settlement

Signed on August Iz, 2015, at Houston, Texas.

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Lynn N. Hughes l
United States District Judge

